                                         05-44481-rdd             Doc 9692-1              Filed 09/28/07 Entered 09/28/07 16:40:29         Exhibit A
  In re Delphi Corporation, et al.                                                                                                                        Twentieth Omnibus Claims Objection
                                                                                                  Pg 1 of 2
  Case No. 05-44481 (RDD)
                EXHIBIT A - DUPLICATE OR AMENDED CLAIMS

  CLAIM TO BE EXPUNGED                                                                                   SURVIVING CLAIM

                       16618                           Debtor:    DELPHI CORPORATION (05-44481)                               16493               Debtor:       DELPHI AUTOMOTIVE SYSTEMS LLC
  Claim Number:                                                                                          Claim Number:
                       07/02/2007                                                                                             01/22/2007                        (05-44640)
  Date Filed:                                                                                            Date Filed:
  Creditor's Name and Address:                        Secured:                                           Creditor's Name and Address:              Secured:

                                                     Priority                  $122.24                                                              Priority:              $18,144.44
  ALLEN COUNTY IN                                                                                        ALLEN COUNTY IN TREASURER
  ONE E MAIN ST RM 100                         Administrative::                                          TREASURER OF ALLEN COUNTY           Administrative:
  FORT WAYNE, IN 46802                             Unsecured:                                            ONE E MAIN ST RM 100                    Unsecured:
                                                                                                         FORT WAYNE, IN 46802
                                                        Total:                 $122.24                                                                Total:               $18,144.44

                       16619                           Debtor:    DELPHI CORPORATION (05-44481)                               16493               Debtor:       DELPHI AUTOMOTIVE SYSTEMS LLC
  Claim Number:                                                                                          Claim Number:
                       07/02/2007                                                                                             01/22/2007                        (05-44640)
  Date Filed:                                                                                            Date Filed:
  Creditor's Name and Address:                        Secured:                                           Creditor's Name and Address:              Secured:

                                                     Priority                $17,847.03                                                             Priority:              $18,144.44
  ALLEN COUNTY IN                                                                                        ALLEN COUNTY IN TREASURER
  PO BOX 2540                                  Administrative::                                          TREASURER OF ALLEN COUNTY           Administrative:
  FORT WAYNE, IN 46801                             Unsecured:                                            ONE E MAIN ST RM 100                    Unsecured:
                                                                                                         FORT WAYNE, IN 46802
                                                        Total:               $17,847.03                                                               Total:               $18,144.44

                       127                             Debtor:    DELPHI CORPORATION (05-44481)                               15664               Debtor:       DELPHI CORPORATION (05-44481)
  Claim Number:                                                                                          Claim Number:
  Date Filed:          10/24/2005                                                                        Date Filed:          07/31/2006
  Creditor's Name and Address:                        Secured:                                           Creditor's Name and Address:              Secured:

                                                     Priority                                                                                       Priority:
  DUN & BRADSTREET                                                                                       DUN & BRADSTREET
  ATTN WENDY FINNEGAN                          Administrative::                                          PO BOX 5126                         Administrative:
  PO BOX 5126                                      Unsecured:                $91,461.50                  TIMONIUM, MD 21094                      Unsecured:               $103,442.63
  TIMONIUM, MD 21094
                                                        Total:               $91,461.50                                                               Total:              $103,442.63

                       16625                           Debtor:    DELPHI CORPORATION (05-44481)                               4733                Debtor:       DELPHI AUTOMOTIVE SYSTEMS LLC
  Claim Number:                                                                                          Claim Number:
                       07/13/2007                                                                                             05/04/2006                        (05-44640)
  Date Filed:                                                                                            Date Filed:
  Creditor's Name and Address:                        Secured:                 $331.57                   Creditor's Name and Address:              Secured:                  $432.23

                                                     Priority                                                                                       Priority:
  MARION COUNTY TAX COLLECTOR OFFICE                                                                     MARION COUNTY TAX COLLECTOR
  PO BOX 970                                   Administrative::                                          PO BOX 970                          Administrative:
  OCALA, FL 34478-0970                             Unsecured:                                            OCALA, FL 34478-0970                    Unsecured:


                                                        Total:                 $331.57                                                                Total:                 $432.23


  Claim Number:        9684                            Debtor:    DELPHI AUTOMOTIVE SYSTEMS LLC          Claim Number:        16609               Debtor:       DELPHI AUTOMOTIVE SYSTEMS LLC
                       07/17/2006                                 (05-44640)                                                  06/04/2007                        (05-44640)
  Date Filed:                                                                                            Date Filed:
  Creditor's Name and Address:                        Secured:                                           Creditor's Name and Address:              Secured:

                                                     Priority                                                                                       Priority:
  PRECISION RESOURCE KENTUCKY DIVISION                                                                   PRECISION RESOURCE INC KY DIV
  PO BOX 30375                                 Administrative::                                          25 FOREST PARKWAY                   Administrative:
  HARTFORD, CT 06150                               Unsecured:               $143,262.13                  SHELTON, CT 06484                       Unsecured:               $193,633.16


                                                        Total:              $143,262.13                                                               Total:              $193,633.16

*UNL stands for unliquidated

                                                                                                  Page 1 of 2
  In re Delphi Corporation, et al.
                                      05-44481-rdd              Doc 9692-1             Filed 09/28/07 Entered 09/28/07 16:40:29                     Exhibit A
                                                                                               Pg 2 of 2                                                            Twentieth Omnibus Claims Objection
  Case No. 05-44481 (RDD)
                EXHIBIT A - DUPLICATE OR AMENDED CLAIMS

  CLAIM TO BE EXPUNGED                                                                                 SURVIVING CLAIM

  Claim Number:        9363                          Debtor:    DELPHI AUTOMOTIVE SYSTEMS LLC          Claim Number:        16620                           Debtor:       DELPHI AUTOMOTIVE SYSTEMS LLC
                       07/05/2006                               (05-44640)                                                  07/02/2007                                    (05-44640)
  Date Filed:                                                                                          Date Filed:
  Creditor's Name and Address:                      Secured:                                           Creditor's Name and Address:                          Secured:

                                                   Priority              $493,781.97                                                                          Priority:
  STATE OF WISCONSIN DEPARTMENT OF                                                                     STATE OF WISCONSIN DEPARTMENT OF
  REVENUE                                    Administrative::                                          REVENUE                                         Administrative:
  PO BOX 8901                                    Unsecured:              $733,539.81                   PO BOX 8901                                         Unsecured:               $4,528.25
  MADISON, WI 53708-8901                                                                               MADISON, WI 53708-8901
                                                      Total:           $1,227,321.78                                                                            Total:              $4,528.25


                                                                                                                                                    Total Claims to be Expunged:                               6
                                                                                                                                          Total Asserted Amount to be Expunged:                    $1,480,346.25




*UNL stands for unliquidated

                                                                                                Page 2 of 2
